
82 So. 3d 1209 (2012)
David S. NAILON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-3964.
District Court of Appeal of Florida, First District.
March 22, 2012.
David S. Nailon, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Charlie McCoy, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
David S. Nailon seeks certiorari review of an order dismissing as untimely his motion for reduction and modification of sentence pursuant to Florida Rule of Criminal Procedure 3.800(c). As the state properly concedes, petitioner's motion was in fact timely. Accordingly, the petition for writ of certiorari is GRANTED, the order dismissing petitioner's rule 3.800(c) motion is QUASHED, and the matter is REMANDED with directions to consider the merits of Nailon's motion.
PADOVANO, LEWIS, and WETHERELL, JJ., concur.
